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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11       Buck G. Woodall, a.k.a. Buck             Case No.: CV 20-3772-CBM(Ex)
         Woodall, an individual,
12                                                ORDER RE: CROSS-SUMMARY
               Plaintiff,
13       v.                                       JUDGMENT MOTIONS [403] [432]
14       The Walt Disney Company et al.,
15             Defendants.
16
17            The matters before the Court are: (1) Defendants’ Motion for Summary
18   Judgment (Dkt. No. 403); and (2) Plaintiff’s Motion for Partial Summary
19   Judgment Against Defendants (Dkt. No. 432).1
20                                   I.    BACKGROUND
21            On April 24, 2020, Plaintiff filed this copyright infringement and trade
22   secrets action arising from Defendants’ alleged infringement and misappropriation
23   of Plaintiff Buck Woodall’s (hereinafter, “Plaintiff’s” or “Woodall’s”) “Bucky”
24   and “Bucky the Wave Warrior” animated film projects” through Defendants’
25   production and release of the Disney animated film Moana. The Second
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      The Court denies Defendants’ request to deny Plaintiff’s Motion for Partial
27   Summary Judgment for failure to meet and confer as required under Local Rule 7-
     3 because Defendants fail to demonstrate they were prejudiced by any failure by
28   Plaintiff to thoroughly meet and confer.
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 1   Amended Complaint (“SAC”), which is the operative complaint, asserts the
 2   following five causes of action: (1) copyright infringement, 17 U.S.C. § 501 et
 3   seq., against all Defendants;2 (2) violations of Defend Trade Secrets Act of 2016
 4   (“DTSA”), 18 U.S.C. § 1836, against all Defendants; (3) violations of the
 5   California Uniform Trade Secrets Act (“CUTSA”), Cal. Civ. Code §§ 3426 et
 6   seq., against all Defendants; (4) fraud against all Defendants; and (5) false
 7   promises against Marchick. (Dkt. No. 94.) Defendants move for summary
 8   judgment on all of Plaintiff’s claims. Plaintiff moves for partial summary
 9   judgment on certain issues and affirmative defenses.
10                          II.   STATEMENT OF THE LAW
11         On a motion for summary judgment, the Court must determine whether,
12   viewing the evidence in the light most favorable to the nonmoving party, there are
13   any genuine issues of material fact. Simo v. Union of Needletrades, Indus. &
14   Textile Employees, 322 F.3d 602, 609-10 (9th Cir. 2003); Fed. R. Civ. P. 56.
15   Summary judgment against a party is appropriate when the pleadings, depositions,
16   answers to interrogatories, and admissions on file, together with the affidavits, if
17   any, show that there is no genuine issue as to any material fact and that the
18   moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56. An
19   issue is “genuine” only if there is a sufficient evidentiary basis on which a
20   reasonable jury could find for the non-moving party. Anderson v. Liberty Lobby,
21   Inc., 477 U.S. 242, 248 (1986). A factual dispute is “material” only if it might
22   affect the outcome of the suit under governing law. Id. The evidence presented
23   by the parties must be admissible. Fed. R. Civ. P. 56(e). In judging evidence at
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      The SAC names the following Defendants: Defendants The Walt Disney
25   Company, Walt Disney Pictures, Walt Disney Animation Studios, Disney
     Enterprises, Inc., Disney Consumer Products, Inc., Disney Consumer Products &
26   Interactive Media, Inc., Walt Disney Direct-To-Consumer & International, Disney
     Book Group, LLC, Disney Interactive Studios, Inc., Disney Store USA, LLC,
27   Disney Shopping, Inc., Buena Vista Home Entertainment, Inc., Buena Vista
     Books, Inc., Mandeville Films, Inc., Jenny Marchick, Pamela Ribon (collectively,
28   “Defendants”).

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 1   the summary judgment stage, the Court does not make credibility determinations
 2   or weigh conflicting evidence. T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors
 3   Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Rather, “[t]he evidence of the
 4   nonmovant is to be believed, and all justifiable inferences are to be drawn in [the
 5   nonmovant’s] favor.” Anderson, 477 U.S. at 255. But the non-moving party must
 6   come forward with more than “the mere existence of a scintilla of evidence.” Id.
 7   at 252. “Conclusory, speculative testimony in affidavits and moving papers is
 8   insufficient to raise genuine issues of fact and defeat summary judgment.”
 9   Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007) (citations
10   omitted).3
11                                   III.   DISCUSSION
12   A.    Trade Secrets Misappropriation
13         Plaintiff asserts two causes of action for trade secrets misappropriation
14   under federal and California law for violation of the DTSA, 18 U.S.C. § 1836
15   (second cause of action), and CUTSA, Cal. Civ. Code §§ 3426 et seq. (third cause
16   of action). Defendants moves for summary judgment on Plaintiff’s trade secrets
17   misappropriation claims on the ground they are time barred. Plaintiff moves for
18   partial summary judgment on the basis Defendants cannot meet their burden of
19   proof on their statute of limitations defense.
20         The applicable statute of limitations for Plaintiff’s trade secrets claims
21   under DTSA and CUTSA is three years from the date the misappropriation is
22   discovered or should have been discovered. See 18 U.S.C. § 1836(d); Cal. Civ.
23   Code § 3426.6. “[A] continuing misappropriation constitutes a single claim”
24   under both the DTSA and CUTSA. See 18 U.S.C. § 1836(d); Cal. Civ. Code §
25   3426.6. “[T]he limitations period begins once the plaintiff has notice or
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27   3
       The Court’s rulings on the parties’ evidentiary objections and requests for
     judicial notice filed in connection with the cross-summary judgment motions are
28   set forth in separate orders.

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 1   information of circumstances to put a reasonable person on inquiry.... A plaintiff
 2   need not be aware of the specific facts necessary to establish the claim; that is a
 3   process contemplated by pretrial discovery. Once the plaintiff has a suspicion of
 4   wrongdoing, and therefore an incentive to sue, she must decide whether to file suit
 5   or sit on her rights. So long as a suspicion exists, it is clear that the plaintiff must
 6   go find the facts; she cannot wait for the facts to find her.” Jolly v. Eli Lilly &
 7   Co., 44 Cal. 3d 1103, 1110-11 (Cal. 1988) (internal quotations and citations
 8   omitted); see also Norgart v. Upjohn Co., 21 Cal. 4th 383, 397-98 (Cal. 1999) (the
 9   statute of limitations begins to run when the plaintiff “at least suspects a factual
10   basis, as opposed to a legal theory, for its elements, even if he lacks knowledge
11   thereof — when, simply put, he at least suspects [ ] that someone has done
12   something wrong to him, wrong being used, not in any technical sense, but rather
13   in accordance with its lay understanding”).
14          Here, the statute of limitations for Plaintiff’s trade secret misappropriation
15   claims began to run when Plaintiff suspected misappropriation, not when Plaintiff
16   completed his “full analysis” comparing Moana to Plaintiff’s “Bucky” materials.
17   See MGA Ent., Inc. v. Mattel, Inc., 41 Cal. App. 5th 554, 562–64 (Cal. Ct. App.
18   2019); Cypress Semiconductor Corp. v. Super. Ct., 163 Cal. App. 4th 575, 587
19   (Cal. Ct. App. 2008); Chung v. Intellect Soft Grp. Corp., 2022 WL 20184655, at
20   *13 (N.D. Cal. July 13, 2022) (citing MGA Ent., Inc., 41 Cal. App. 5th at 562-
21   64)); Wolf v. Travolta, 167 F. Supp. 3d 1077, 1102 (C.D. Cal. 2016); Moddha
22   Interactive, Inc. v. Philips Elec. N. Am. Corp., 92 F. Supp. 3d 982, 993-94 (D.
23   Haw. 2015), aff’d sub nom. Moddha Interactive, Inc. v. Philips Elecs. N. Am.
24   Corp., 654 F. App’x 484 (Fed. Cir. 2016) (citing Fox v. Ethicon Endo-Surgery,
25   Inc., 110 P.3d 914, 920 (Cal. 2005)). Plaintiff testified at his deposition that when
26   he watched the Moana film in Spanish in December 2016, “I felt like, you know, I
27   had my suspicions that they were -- stole my film, copied my film, and I thought
28   what a job they did botching my film and turning it into a musical. I knew at that

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 1   point I could not, you know, sit here and really absorb and analyze this film and I
 2   needed to get it later on DVD and watch it in English so to really figure out what
 3   had happened to me in terms of this theft.” (Plaintiff Depo. 247:17-25.) Plaintiff
 4   does not submit any evidence contradicting his own deposition testimony that he
 5   had suspicions in December 2016 when he watched Moana in the theater.
 6   Therefore, it is undisputed Plaintiff had suspicions that Moana misappropriated
 7   his trade secrets no later than in December 2016 when he watched Moana in a
 8   theater. Accordingly, the statute of limitations on Plaintiff’s trade secrets
 9   misappropriation claims began to run in December 2016 but Plaintiff did not file
10   this lawsuit until April 24, 2020. Plaintiff’s trade secrets misappropriation claims
11   are therefore time-barred under the applicable three-year statute of limitations.
12   See Jolly, 44 Cal. 3d at 1112; B. Braun Med., Inc. v. Rogers, 163 F. App’x 500,
13   504 (9th Cir. 2006) (citing Jolly, 44 Cal. 3d at 1112)).
14         Even assuming the statute of limitations did not begin to run on Plaintiff’s
15   trade secrets claims in December 2016 when Plaintiff watched Moana in the
16   theater, it is further undisputed Plaintiff made screenshot comparisons from the
17   DVD of Moana with Plaintiff’s trade secrets on March 15, 2017, Plaintiff and his
18   brother Benjamin Woodall emailed each other on March 23, 2017 “strategizing
19   about the Moana case,” and Plaintiff contacted an attorney on March 27, 2017.
20   See Gabriel Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d 997, 1003-07 (S.D.
21   Cal. 2012). Therefore, it is undisputed Plaintiff had further suspicions that Moana
22   used Plaintiff’s purported trade secrets in March 2017, but Plaintiff did not file
23   this lawsuit until April 24, 2020. Plaintiff’s trade secret claims are thus untimely.
24   See 18 U.S.C. § 1836(d); Cal. Civ. Code § 3426.6; Jolly, 44 Cal. 3d at 1110-11;
25   Norgart, 21 Cal. 4th at 397–98; B. Braun Med., Inc., 163 F. App’x at 504.
26         Accordingly, the Court grants Defendants’ Motion for Summary Judgment
27   on Plaintiff’s trade secrets claims as time-barred, and denies Plaintiff’s Motion for
28   Partial Summary Judgment on the ground Defendants cannot meet their burden of

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 1   proof on their statute of limitations defense as to Plaintiff’s trade secrets claim.4
 2   B.    Fraud and False Promises
 3         Plaintiff’s fifth cause of action is for fraud against all Defendants.
 4   Plaintiff’s sixth cause of action is for false promises against Defendant Marchick
 5   only. Defendants move for summary judgment on Plaintiff’s fraud and false
 6   promises claims on the ground they are time-barred because the alleged
 7   misrepresentations and false promises occurred more than three years before
 8   Plaintiff filed this lawsuit. Plaintiff moves for partial summary judgment on the
 9   basis Defendants cannot meet their burden of proof on their statute of limitations
10   defense.
11         A three-year statute of limitations applies to Plaintiff’s fraud and false
12   promises claims. See Cal. Civ. Proc. Code § 338(d) (three year statute of
13   limitations for “[a]n action for relief on the ground of fraud or mistake”); see also
14   Ward v. Chanana, 2008 WL 5383582, at *5 (N.D. Cal. Dec. 23, 2008). Cal. Civ.
15   Proc. Code § 338(d) provides “[t]he cause of action” for fraud or mistake “is not
16   deemed to have accrued until the discovery, by the aggrieved party, of the facts
17   constituting the fraud or mistake.” Therefore, a plaintiff must bring a fraud claim
18   within three years after “discovery . . . of the fraud or facts that would lead a
19   reasonably prudent person to suspect fraud.” Doe v. Roman Catholic Bishop of
20   Sacramento, 189 Cal. App. 4th 1423, 1430 (Cal. Ct. App. 2010) (emphasis in
21   original); Vera v. REL-BC, LLC, 66 Cal. App. 5th 57, 69 (Cal. Ct. App. 2021);
22   Kline v. Turner, 87 Cal. App. 4th 1369, 1373-74 (Cal. Ct. App. 2001) (citing Cal.
23   Civ. Proc. Code § 338(d)); Jolly, 44 Cal. 3d at 1110-11); Moqaddem v. Pinto,
24   2023 WL 2628686, at *3 (C.D. Cal. Jan. 13, 2023) (citing Kline, 87 Cal. App. 4th
25   at 1373-74).
26         Here, Plaintiff’s fraud claim is based on Defendant Marchick’s alleged
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      Because Plaintiff’s trade secrets claims are time-barred, the Court does not rule
28   on the other issues raised by the parties as to Plaintiff’s trade secrets claims.

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 1   fraudulent representations to Plaintiff “[b]eginning on October 22, 2003 and
 2   continuing repeatedly until Disney’s release of Moana in November of 2016”
 3   while Marchick was “operating in conjunction and with express ratification and
 4   approval of all other Defendants.” (SAC ¶¶ 89-90.) The SAC alleges Marchick
 5   represented to Plaintiff “orally and in writing that the confidentiality of all
 6   materials provided her by Woodall relative to Bucky would be honorably
 7   maintained and not violated by her in any manner” and “represented to Woodall
 8   that his accelerated delivery of materials to the Defendants relative to the film
 9   project Bucky, including for example the trailer and the 2011 script prepared by
10   Woodall, were being delivered so that the Defendants could evaluate and then
11   assist Woodall in commercializing Bucky in a successful manner for the benefit of
12   both the Defendants and Woodall.” (Id.) The SAC alleges “[t]hese
13   representations by Marchick (and by all Defendants named in this Complaint
14   through their express ratification and approval) were made to induce action by
15   [Plaintiff] and they did induce the action of [Plaintiff] repeatedly and continuously
16   delivering all of his ideas related to Bucky to the Defendants.” (Id. ¶ 90.)
17         Moreover, Plaintiff’s false promises claim against Marchick is based on
18   Marchick’s alleged execution of the Confidentiality Agreement on October 22,
19   2003, which the SAC alleges is attached thereto as Exhibit C. (Id. ¶ 101.) The
20   SAC alleges by executing the Confidentiality Agreement, Marchick “stipulate[ed]
21   in connection therewith that all materials provided to her by Woodall are
22   confidential and that any disclosure or use of these materials could cause serious
23   harm or damage to [Plaintiff],” and at the time she executed the Confidentiality
24   Agreement, “Marchick orally made promises to Woodall related to that agreement
25   including most importantly that she would abide by and honor the strict
26   confidentiality of all materials submitted to her appertaining or relating in any
27   manner to Bucky.” (Id. ¶¶ 101-02.) The SAC further alleges Marchick “at the
28   express direction of the Defendants, and each of them -- made the other promises

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 1   and representations, and engaged in the surrounding misconduct, as set forth in
 2   paragraphs 89 through 99 of this Complaint.” (Id. ¶ 103.)
 3         Because it is undisputed Plaintiff suspected Moana used Plaintiff’s
 4   allegedly confidential Bucky materials when he watched Moana in December
 5   2016, the statute of limitations for Plaintiff’s fraud and false promises claims
 6   began to run in December 2016. See Norgart, 21 Cal. 4th at 397-98; Critchlow v.
 7   Critchlow, 617 F. App’x 664, 666 (9th Cir. 2015), as amended on denial of reh’g
 8   and reh’g en banc (July 16, 2015); Kline, 87 Cal. App. 4th at 1374-75.5 Since
 9   Plaintiff did not file this lawsuit until April 2020, Plaintiff’s fraud and false
10   promises claims are time-barred under the applicable three-year statute of
11   limitations. See Cal. Civ. Proc. Code § 338(d).
12         Moreover, Plaintiff’s fraud conspiracy claim is based on alleged fraud that
13   occurred between 2005 and 2008 “in order to ultimately make and release the
14   movie Moana” (SAC ¶ 91.) However, because it is undisputed Plaintiff suspected
15   Moana used Plaintiff’s Bucky materials when he watched Moana in the theater in
16   December 2016 and when he watched Moana on DVD in March 2017 (see supra),
17   the three-year statute of limitations on Plaintiff’s fraud conspiracy claim began to
18   run in December 2016 or at the latest March 2017. Because Plaintiff did not file
19   his Complaint until April 2020, Plaintiff’s fraud conspiracy claim is also time-
20   barred under the applicable three-year statute of limitations. See Cal. Civ. Proc.
21   Code § 338(d); Aaroe v. First American Title Ins. Co., 222 Cal. App. 3d 124, 128
22   (Cal. Ct. App. 1990); River Colony Ests. Gen. P’ship v. Bayview Fin. Trading
23   Grp., Inc., 287 F. Supp. 2d 1213, 1220 (S.D. Cal. 2003).
24         Accordingly, the Court grants Defendants’ Motion for Summary Judgment
25   on the fraud, false promises, and conspiracy to commit fraud claims as time-
26   barred. The Court denies Plaintiff’s Motion for Partial Summary Judgment on the
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      See also Fox, Inc., 35 Cal. 4th at 807; Bernson v. Browning-Ferris Indus., 7 Cal.
28   4th 926, 932 (1994).

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 1   ground Defendants cannot meet their burden of proof on their statute of limitations
 2   defense as to Plaintiff’s fraud, false promises, and conspiracy to commit fraud
 3   claims. Moreover, the Court denies Plaintiff’s Motion for Partial Summary
 4   Judgment as to the issue of falsity for his fraud and false promises claims because
 5   those claims are time-barred.6
 6   C.    Copyright Infringement
 7         The parties each move for summary judgment on Plaintiff’s copyright
 8   infringement claim. To prevail on his copyright infringement claim, Plaintiff must
 9   prove he (1) “owns a valid copyright in [the work]” and (2) Defendants “copied
10   protected aspects of [Plaintiff’s work].” Rentmeester v. Nike, Inc., 883 F.3d 1111,
11   1116–17 (9th Cir. 2018) (citations omitted). The second element has two distinct
12   components: “copying” and “unlawful appropriation.” Id. “When the plaintiff
13   lacks direct evidence of copying, he can attempt to prove it circumstantially by
14   showing that the defendant had access to the plaintiff’s work and that the two
15   works share similarities probative of copying.” Id. at 1117. “Such proof creates a
16   presumption of copying, which the defendant can then attempt to rebut by proving
17   independent creation.” Id. “To prove unlawful appropriation, . . . the similarities
18   between the two works must be substantial and they must involve protected
19   elements of the plaintiff’s work.” Id. “[W]hether works are substantially similar
20   involves a two-part analysis consisting of the extrinsic test and the intrinsic test.”
21   Id. at 1118 (internal quotations and citations omitted). A plaintiff must satisfy
22   both components, and therefore a lack of extrinsic similarity is fatal to a plaintiff’s
23   copyright case as a matter of law. White v. Twentieth Century Fox Corp., 572 F.
24   App’x 475, 476-77 (9th Cir. 2014) (citing Funky Films, Inc., 462 F.3d at 1081).
25   The extrinsic test is “is objective in nature. [I]t depends not on the responses of
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27   6
       Because Plaintiff’s fraud, false promises, and conspiracy to commit fraud claims
     are time-barred, the Court does not rule on the other issues raised by the parties as
28   to these claims.

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  1   the trier of fact, but on specific criteria which can be listed and analyzed. The
  2   extrinsic test focuses on articulable similarities between the plot, themes, dialogue,
  3   mood, setting, pace, characters, and sequence of events in the two works. In
  4   applying the extrinsic test, this court compares, not the basic plot ideas for stories,
  5   but the actual concrete elements that make up the total sequence of events and the
  6   relationships between the major characters.” Funky Films, 462 F.3d at 1081
  7   (internal quotations and citations omitted). “Familiar stock scenes and themes that
  8   are staples of literature are not protected.” Cavalier v. Random House, Inc., 297
  9   F.3d 815, 823 (9th Cir. 2002). In addition, “[s]cenes-à-faire, or situations and
 10   incidents that flow necessarily or naturally from a basic plot premise, cannot
 11   sustain a finding of infringement.” Id. “Therefore, when applying the extrinsic
 12   test, a court must filter out and disregard the non-protectable elements in making
 13   its substantial similarity determination.” Id. at 822-23; see also Shaw v. Lindheim,
 14   919 F.2d 1353, 1361 (9th Cir. 1990); Berkic, 761 F.2d at 1293-94. The Court
 15   need not explain in its analysis every alleged similarity in a copyright
 16   infringement case and may properly disregard alleged similarities that are not
 17   protectable. White, 572 F. App’x at 477 (citing Funky Films, 462 F.3d at 1077).7
 18         (1)    Time-Barred
 19         Defendants move for summary judgment on Plaintiff’s copyright
 20   infringement claim on the grounds it is time-barred as to “many” of the
 21   defendants. Plaintiff moves for partial summary judgment on the ground
 22   Defendants cannot meet their burden of proof on their statute of limitations
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 24   7
        The intrinsic test, on the other hand, is a subjective comparison that focuses on
      “whether the ordinary, reasonable audience would find the works substantially
 25   similar in the “total concept and feel of the works.” Cavalier, 297 F.3d at 822
      (internal quotations and citations omitted). “[T]he intrinsic test for expression is
 26   uniquely suited for determination by the trier of fact.” Sid & Marty Krofft
      Television Prods., Inc. v. McDonald’s Corp., 562 F.2d 1157, 1166 (9th Cir. 1977).
 27   Accordingly, where the plaintiff satisfies the extrinsic test, “the intrinsic test’s
      subjective inquiry must be left to the jury and [any dispositive motion] must be
 28   denied.” Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996).

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  1   defense as to all of Plaintiff’s claims.
  2         17 U.S.C. § 507(b) provides: “No civil action shall be maintained under
  3   [the Copyright Act] unless it is commenced within three years after the claim
  4   accrued.” See also Warner Chappell Music, Inc. v. Nealy, 144 S. Ct. 1135, 1137
  5   (2024) (“The Copyright Act’s statute of limitations provides that a copyright
  6   owner must bring an infringement claim within three years of its accrual.”) (citing
  7   17 U.S.C. § 507(b)). Accrual for purposes of 17 U.S.C. § 507 occurs “the moment
  8   when the copyright holder ‘has knowledge of a violation or is chargeable with
  9   such knowledge.’” Polar Bear Prods. v. Timex Corp., 384 F.3d 700, 706 (9th Cir.
 10   2004) as amended on denial of reh’g and reh’g en banc (Oct. 25, 2004) (quoting
 11   Roley v. New World Pictures, Ltd., 19 F.3d 479, 481 (9th Cir. 1994)); see also
 12   Starz Ent., LLC v. MGM Domestic4 Television Distr., LLC, 39 F.4th 1236, 1240–
 13   41 (9th Cir. 2022). The Supreme Court recently held:
 14                In this case, we assume without deciding that a claim is timely under
                   [17 U.S.C. § 507(b) of the Copyright Act] if brought within three
 15                years of when the plaintiff discovered an infringement, no matter
                   when the infringement happened. We then consider whether a claim
 16                satisfying that rule is subject to another time-based limit—this one,
                   preventing the recovery of damages for any infringement that
 17                occurred more than three years before a lawsuit's filing. We hold that
                   no such limit on damages exists. The Copyright Act entitles a
 18                copyright owner to recover damages for any timely claim.
 19   Warner Chappell Music, Inc., 144 S. Ct. at 1137.
 20                a.     Defendants Marchick, Ribon, and Mandeville
 21         Assuming (as the Supreme Court assumed in Warner Chappell Music, Inc.)
 22   that Plaintiff’s copyright infringement claim accrued when Plaintiff discovered the
 23   infringement, it is undisputed Plaintiff suspected Moana used Plaintiff’s allegedly
 24   confidential Bucky materials when he watched Moana in the theater in December
 25   2016. (See supra.) It is also undisputed Plaintiff had further suspicions that
 26   Moana used Plaintiff’s Bucky materials in March 2017 when he watched Moana
 27   on DVD. (See supra.) Therefore, the statute of limitations for Plaintiff’s
 28   copyright infringement claim began to run in December 2016 or at the latest

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  1   March 2017. See Polar Bear Prods., 384 F.3d at 706; Oracle Am., Inc. v. Hewlett
  2   Packard Enter. Co., 971 F.3d 1042, 1047 (9th Cir. 2020). Because Plaintiff did
  3   not file this lawsuit until April 2020, Plaintiff’s copyright infringement claim
  4   against Defendants Marchick, Ribon, and Mandeville is time-barred under the
  5   applicable three-year statute of limitations. See In re Napster, Inc. Copyright
  6   Litig., 2005 WL 289977, at *4 (N.D. Cal. Feb. 3, 2005).
  7         Warner Chappell Music, Inc. v. Nealy, relied on by Plaintiff, does not
  8   support Plaintiff’s contention that his copyright claim is not time-barred because
  9   the Supreme Court assumed in that case that the copyright claim was timely
 10   brought within three years of the Plaintiff’s discovery of the infringement in
 11   holding that there was no three year limitation on damages that were recoverable
 12   under the Copyright Act. See Warner, 144 S. Ct. at 1137. However, here
 13   Plaintiff’s copyright infringement claim against Defendants Marchick, Mandeville
 14   and Ribbon is time-barred because it is undisputed Plaintiff suspected the Moana
 15   film infringed his copyrights more than three years before he filed this lawsuit.
 16   Therefore, Plaintiff cannot recover damages for his untimely copyright
 17   infringement claim against Defendants Marchick, Mandeville, and Ribbon. See
 18   Polar Bear Prods., 384 F.3d at 706 (“§ 507(b) permits damages occurring outside
 19   of the three—year window, so long as the copyright owner did not discover—and
 20   reasonably could not have discovered—the infringement before the
 21   commencement of the three-year limitation period.”), as amended on denial of
 22   reh’g and reh’g en banc (Oct. 25, 2004), opinion amended on denial of reh’g,
 23   2004 WL 2376507 (9th Cir. Oct. 25, 2004).
 24                b.     Copyright Claims Based on Moana Film and Moana Home
 25                       Videos Distributed Prior to April 24, 2017
 26         As to Defendants The Walt Disney Company, Walt Disney Pictures, Walt
 27   Disney Animation Studios, Disney Enterprises, Inc., and Walt Disney Direct-To-
 28   Consumer & International, Plaintiff does not identify any evidence that any of

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  1   these defendants distributed Moana within the three years prior to Plaintiff filing
  2   this lawsuit. Therefore, Plaintiff’s copyright infringement claim against
  3   Defendants The Walt Disney Company, Walt Disney Pictures, Walt Disney
  4   Animation Studios, Disney Enterprises, Inc., and Walt Disney Direct-To-
  5   Consumer & International is time-barred under the applicable three-year statute of
  6   limitations.
  7                  c.   Defendant Buena Vista Home Entertainment, Inc.
  8         Defendants acknowledge Plaintiff has a “timely claim” for copyright
  9   infringement as to Defendant Buena Vista Home Entertainment, Inc. (“BVHE”),
 10   “whose home video distribution of Moana continued beyond April 24, 2017.”
 11   (Dkt. No. 491, Defendants’ Reply at 8.) Therefore, Plaintiff’s copyright
 12   infringement claim is not time-barred as to Defendant BVHE. See Kourtis v.
 13   Cameron, 419 F.3d 989, 999-1000 (9th Cir. 2005), abrogated on other grounds by
 14   Taylor v. Sturgell, 553 U.S. 880, 128 S. Ct. 2161, 171 L. Ed. 2d 155 (2008).8
 15                  d.   Contributory and Vicarious Infringement
 16         As to Defendants Disney Consumer Products, Inc., Disney Consumer
 17   Products & Interactive Media, Inc., Disney Interactive Studios, Inc., LLC, Disney
 18   Store USA, LLC, Disney Shopping, Inc., Buena Vista Books, Inc., Disney Book
 19   Group, Plaintiff contends these defendants (who produce(d) or distribute(d)
 20   Moana-related consumer products but did not distribute the Moana film) are liable
 21   as contributory, vicarious, and/or indirect infringers. Defendants contends
 22   Plaintiff’s indirect, contributory and vicarious infringement claims against these
 23   defendants are time-barred.
 24         Contributory copyright infringement occurs when a party “(1) has
 25
 26   8
       See also Botts v. Kompany.com, 2013 WL 12137690, at *2 (C.D. Cal. Apr. 10,
      2013); Hunter Killer Prods., Inc. v. AKA Wireless, Inc., 2020 WL 4043317, at *5
 27   (D. Haw. July 17, 2020); Liberty Media Holdings, LLC v. Vinigay.com, 2011 WL
      7430062, at *11 (D. Ariz. Dec. 28, 2011), report and recommendation adopted,
 28   2012 WL 641579 (D. Ariz. Feb. 28, 2012).

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  1   knowledge of another’s infringement and (2) either (a) materially contributes to or
  2   (b) induces that infringement.” Perfect 10 v. Visa Int’l Serv. Assoc., 494 F.3d 788,
  3   795 (9th Cir. 2007); see also Desire., 986 F.3d at 1264 n.8. “‘Material
  4   contribution’ may involve, for example, providing materials or services that help
  5   another infringe.” Mahon v. Mainsail LLC, 2020 WL 6750150, at *3 (N.D. Cal.
  6   Nov. 17, 2020) (citing Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.4d 259, 264
  7   (9th Cir. 1996)). “Inducement may involve actively encouraging others to
  8   infringe, such as by providing instructions.” Id. (citing Metro-Goldwyn-Mayer
  9   Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936-67 (2005)). “The contributory
 10   infringement occurs, and the [three-year] statute of limitations period begins to
 11   run, when there has been: (1) an act inducing or materially contributing to (2) an
 12   act of direct infringement.” Goldberg v. Cameron, 2009 WL 2051370, at *8
 13   (N.D. Cal. July 10, 2009). For vicarious infringement, Plaintiff must prove
 14   “defendant has the right and ability to supervise the infringing activity and also
 15   has a direct financial interest in such activities.” A&M Recs., Inc. v. Napster, Inc.,
 16   239 F.3d 1004, 1022 (9th Cir. 2001). The three-year statute of limitations for
 17   vicarious infringement claims “begins when a party discovers, or reasonably could
 18   have discovered, the infringement.” Rearden LLC v. Crystal Dynamics, Inc., 2020
 19   WL 13890300, at *4 (N.D. Cal. Oct. 8, 2020). Subsequent acts of direct
 20   infringement do not restart the statute of limitations for contributory and vicarious
 21   infringement claims. See Goldberg v. Cameron, 2009 WL 2051370, at *8; Arc
 22   Music, Inc. v. Henderson, 2010 WL 11597304, at *3 (C.D. Cal. Mar. 22, 2010)).
 23         Here, because it is undisputed Plaintiff suspected Moana used Plaintiff’s
 24   allegedly confidential Bucky materials when he watched Moana in the theater in
 25   December 2016, and Plaintiff had further suspicions that Moana used Plaintiff’s
 26   Bucky materials in March 2017 when he watched Moana on DVD (see supra),
 27   Plaintiff’s contributory and vicarious copyright infringement claims began to
 28   accrue no later than March 2017. Because Plaintiff did not file this lawsuit until

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  1   April 24, 2020, Plaintiff’s contributory and vicarious infringement claims against
  2   Defendants Disney Consumer Products, Inc., Disney Consumer Products &
  3   Interactive Media, Inc., Disney Interactive Studios, Inc., LLC, Disney Store USA,
  4   LLC, Disney Shopping, Inc., Buena Vista Books, Inc., and Disney Book Group
  5   are time-barred under the applicable three-year statute of limitations.
  6                                      *      *      *
  7         Accordingly, the Court grants Defendants’ Motion for Summary Judgment
  8   on Plaintiff’s copyright infringement claim as time-barred as to all defendants
  9   except Defendant BVHE, and denies Plaintiff’s Motion for Partial Summary
 10   Judgment on the ground Defendants cannot meet their burden of proof on their
 11   statute of limitations defense as to Plaintiff’s copyright infringement claim.
 12         (2)    Joint and Several Liability
 13         Plaintiff seeks partial summary judgment on the issue “the Defendants who
 14   participated in distribution of Moana and Moana-related products and attractions
 15   would be liable.” Plaintiff argues Defendants Walt Disney Company, Walt
 16   Disney Animation Studios, Walt Disney Pictures, Walt Disney Studios, Disney
 17   Enterprises, Inc., Buena Vista Home Entertainment, Inc., and Walt Disney Direct-
 18   To-Consumer and International “are or were part of the distribution chain” for the
 19   Moana film, and therefore these defendants are jointly and severally liable for
 20   copyright infringement in this case. However, Plaintiff does not distinguish
 21   between upstream and downstream infringers nor address whether each defendant
 22   is the “but for” cause of any purported infringement, and instead seeks a finding
 23   that all Defendants are jointly and severally liable for any infringement in this
 24   action—a position rejected by the Ninth Circuit in Desire, LLC v. Manna Textiles,
 25   Inc., 986 F.3d 1253, 1263-64 (9th Cir. 2021). Moreover, Plaintiff does not submit
 26   evidence “proving the value received from an infringing product used to enhance
 27
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  1   commercial reputation” as required,9 nor “offered any reasonably accurate method
  2   of calculating profits” from Moana products and attractions “that are attributable
  3   to infringements in the film.”10 Instead, Plaintiff speculates “any profits from
  4   Moana-based products and attractions can only be attributed to the fact that . . .
  5   Disney has made the perfect Disney movie with Moana.” Plaintiff therefore fails
  6   to demonstrate he is entitled to profits for all Moana-based products and
  7   attractions as a matter of law. See Bus. Trends Analysts, 887 F.2d at 404; Burns,
  8   2001 WL 34059379, at *4. Accordingly, the Court denies Plaintiff’s motion for
  9   summary judgment on the issue “the Defendants who participated in distribution
 10   of Moana and Moana-related products and attractions would be liable.”
 11         (3)    Ownership
 12         Plaintiff moves for summary judgment on the issue of Plaintiff’s ownership
 13   of the copyrights regarding the Bucky works that were registered with the U.S.
 14   Copyright Office. Defendants state they “have offered to stipulate that Plaintiff
 15   owns a copyright in the materials he registered with the Copyright Office.”
 16   (Defendants’ Opp. at 14 (citing Suppl. Shimamoto Decl. Ex. 31).) Therefore,
 17   there is no genuine issue of material fact that Plaintiff owns the copyright in the
 18   Bucky materials he registered with the U.S. Copyright Office. Accordingly, the
 19   Court grants Plaintiff’s Motion for Summary Judgment on the issue of ownership
 20   of his copyrights.
 21         (4)    Exclusive Rights
 22         17 U.S.C. § 106 provides that “the owner of copyright under this title has
 23   the exclusive rights to do and to authorize any of the following:”
 24                (1) to reproduce the copyrighted work in copies or phonorecords;
 25                (2) to prepare derivative works based upon the copyrighted work;
 26   9
        See Bus. Trends Analysts, Inc. v. Freedonia Grp., Inc., 887 F.2d 399, 404, 407
 27   (2d Cir. 1989).
      10
         See Burns v. Imagine Films Entm’t, Inc., 2001 WL 34059379, at *4 (W.D.N.Y.
 28   Aug. 23, 2001).

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                   (3) to distribute copies or phonorecords of the copyrighted work to
  1                the public by sale or other transfer of ownership, or by rental, lease,
                   or lending;
  2
                   (4) in the case of literary, musical, dramatic, and choreographic
  3                works, pantomimes, and motion pictures and other audiovisual
                   works, to perform the copyrighted work publicly;
  4                (5) in the case of literary, musical, dramatic, and choreographic
                   works, pantomimes, and pictorial, graphic, or sculptural works,
  5                including the individual images of a motion picture or other
                   audiovisual work, to display the copyrighted work publicly; and
  6
                   (6) in the case of sound recordings, to perform the copyrighted work
  7                publicly by means of a digital audio transmission.
  8   Defendants argue Defendants The Walt Disney Company, Disney Enterprises,
  9   Inc., Disney Consumer Products, Inc., Disney Consumer Products & Interactive
 10   Media, Inc., Disney Interactive Studios, Inc., Buena Vista Books, Inc., Mandeville
 11   and Marchick did not violate Plaintiff’s exclusive rights under the Copyright Act
 12   because they were not involved in the development or production of Moana, and
 13   there is no evidence they distributed or publicly performed or displayed Moana.
 14   However, because Plaintiff’s copyright infringement claims are time-barred as to
 15   these defendants for the reasons set forth above, the Court does not rule on the
 16   issue of whether these defendants violated Plaintiff’s exclusive rights under the
 17   Copyright Act.
 18         (5)    Access
 19         Defendants move for summary judgment on Plaintiff’s copyright claim on
 20   the ground it fails as a matter of law because Plaintiff’s access theory is based on
 21   bare corporate receipt. Defendants argue Plaintiff did not move for summary
 22   judgment on the issue of access because Plaintiff’s notice of motion does not state
 23   Plaintiff moves for summary judgment on the issue of access (see Dkt. No. 432 at
 24   p.i). However, Plaintiff argues he does move on the issue of access and a
 25   significant portion of his summary judgment motion addresses the issue of access
 26   (see Plaintiff’s Motion at pp. 7-16). Therefore, the Court finds both parties move
 27   for summary judgment on the issue of access.
 28         “When the plaintiff lacks direct evidence of copying, he can attempt to

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  1   prove it circumstantially by showing that the defendant had access to the
  2   plaintiff’s work and that the two works share similarities probative of copying.”
  3   Rentmeester, 883 F.3d at 1117. “To prove access, a plaintiff must show a
  4   reasonable possibility, not merely a bare possibility, that an alleged infringer had
  5   the chance to view the protected work.” Art Attacks Ink, LLC v. MGA Ent. Inc.,
  6   581 F.3d 1138, 1143 (9th Cir. 2009). Access does not require proof Defendants
  7   actually viewed Plaintiff’s work; rather, “[p]roof of access requires ‘an
  8   opportunity to view or to copy plaintiff’s work.’” Loomis v. Cornish, 836 F.3d
  9   991, 995 (9th Cir. 2016) (emphasis added). “Where there is no direct evidence of
 10   access, circumstantial evidence can be used to prove access either by (1)
 11   establishing a chain of events linking the plaintiff’s work and the defendant’s
 12   access, or (2) showing that the plaintiff’s work has been widely disseminated.” Id.
 13   “[E]vidence that a third party with whom both the plaintiff and defendant were
 14   dealing had possession of plaintiff’s work is sufficient to establish access by the
 15   defendant.” Loomis, 836 F.3d at 995. “[T]he dealings between the plaintiff and
 16   the intermediary and between the intermediary and the alleged copier must
 17   involve some overlap in subject matter to permit an inference of access.” Id.
 18   Thus, access can be established “where the intermediary either was a supervisor
 19   with responsibility for the defendant’s project, was part of the same work unit as
 20   the copier, or contributed creative ideas or material to the defendant’s work.” Id.
 21   (internal quotations and citation omitted). In contrast, “a plaintiff cannot create a
 22   triable issue of access merely by showing bare corporate receipt of her work by an
 23   individual who shares a common employer with the alleged copier. Rather, it
 24   must be reasonably possible that the paths of the infringer and the infringed work
 25   crossed.” Id. at 995-96.
 26         Contrary to those cases where the courts have found no nexus between the
 27   intermediary who received the work and the alleged infringers, here Plaintiff
 28   submits the following interrogatory response from Defendant Marchick:

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                   INTERROGATORY NO. 8: Identify any and all documents
  1                regarding or relating to Bucky that you provided to any Defendant
                   from 2001 to 2016. and. [sic]
  2
                   RESPONSE TO INTERROGATORY NO. 8:
  3
                   . . The only Bucky documents that Marchick may have provided to
  4                any Defendant was the Bucky material she provided to the individual
                   at Disney TV Animation referenced in her response to Interrogatory
  5                No. 3.11
  6   (Dkt. No. 441-9.) A reasonable jury could find Defendants had an opportunity to
  7   view Plaintiff’s work and therefore had access to it based on Marchick’s
  8   interrogatory response that she “may” have provided Plaintiff’s Bucky material to
  9   a “defendant” by providing materials to an individual at Disney Animation TV.
 10   See Loomis, 836 F.3d at 995.
 11         Furthermore, Defendants do not dispute “Mandeville Films’ offices were
 12   located inside the Old Animation Building on the Walt Disney Studio lot in
 13
      11
        Defendant Marchick’ response to Interrogatory No. 3 stated:
 14
            INTERROGATORY NO. 3: Please describe in detail your involvement in
 15         Bucky. If You were not involved in Bucky, please say so.
            RESPONSE TO INTERROGATORY NO. 3:
 16
            . . . Marchick’s stepsister Lindsay is married to Plaintiff’s brother, Benjamin
 17         Woodall. This is how Plaintiff connected with Marchick. Somewhere
            around 2003-2005, when Marchick was working at Mandeville Films,
 18         Plaintiff provided Marchick with certain materials regarding Bucky,
            including some drawings and a story description. Marchick told Plaintiff
 19         that Mandeville Films didn’t do animation. Marchick contacted Maggie
            Malone at Walt Disney Animation Studios (“WDAS”) and asked if WDAS
 20         took pitches. Marchick did not mention Plaintiff’s name or Bucky to Ms.
            Malone, and did not provide or describe any of Plaintiff’s Bucky material to
 21         Ms. Malone, or to anyone at WDAS. Ms. Malone stated that WDAS would
            not accept or review any of Plaintiff’s material because WDAS created all
 22         of its own content.
                    Since Plaintiff was family, Marchick contacted someone at Disney
 23         TV, and arranged for Plaintiff to meet with that person. Marchick does not
            recall the person’s name, but that person subsequently told Marchick that he
 24         or she was not interested in Plaintiff’s material. Plaintiff subsequently asked
            Marchick if he could send her more material if he had any. Marchick
 25         agreed.
 26                 Plaintiff subsequently sent Marchick additional material at various
            times, primarily after Marchick left Mandeville Films in October 2007. The
 27         last date Marchick received any Bucky material from Plaintiff was in
            January 2012, when Marchick was working for Sony Pictures Animation.
 28   (Dkt. No. 441-9.)

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  1   Burbank, California,” nor dispute that “Mandeville Films was a ‘Disney-based’
  2   company” during “the relevant time period,” nor dispute “Mandeville Films
  3   representatives were on Disney’s payroll” during “the relevant time period.” (See
  4   Dkt. No. 527, Defendants’ response to Plaintiff’s Statement of Fact Nos. 18, 22,
  5   23.) Moreover, Plaintiff submits a copy of Mandeville’s first look agreement with
  6   Walt Disney Pictures (Dkt. No. 542-4), and Defendants do not dispute Walt
  7   Disney Pictures produced the Moana film (see Defendants’ response to Plaintiff’s
  8   Statement of Fact No. 316). David Hoberman, the founder of Mandeville Films,
  9   also testified during his deposition that Mandeville had offices on the Disney lot,
 10   Mandeville had “a first-look deal with Disney” from its inception where they gave
 11   “money and overhead” and in exchange if something came to Mandeville it liked
 12   then it would have to present it to Disney, Mandeville employees were not
 13   allowed to go do deals on their own while working for Mandeville based on the
 14   first-look deal with Disney, Mandeville’s employees were paid by Disney, payroll
 15   records for Mandeville employees “would be in the Disney company,” Hoberman
 16   got advice from Disney’s HR, (Dkt. No. 530-2, Hoberman Depo. 21:1-8, 21:16-
 17   22:5, 23:7-11, 23:25-24:4, 27:1-28:16, 31:19-25, 58:1-7.) Marchick testified at
 18   her deposition that she worked at Walt Disney Pictures in 2001, Mandeville’s
 19   office was located in a building on the Walt Disney lot, two HR people worked for
 20   Disney down the hall from her at Mandeville, she interacted with people who
 21   worked for Disney on the Disney lot, she interacted with the vice president
 22   (Kristin Burr) in the live-action division of Disney on the Disney lot who became
 23   Marchick’s mentor and with whom Marchick spoke to about scripts she had read
 24   when she became an executive at Mandeville (Dkt. No. 541-1, Marchick Depo.
 25   37:8-40:22, 63:15-21, 70:20-71:12, 97:17-98:14, 98:16-100:20.) Moreover,
 26   Plaintiff testified at his deposition: “I recall her taking the folder [with Plaintiff’s
 27   works], setting it aside and saying I’ll get this to my bosses and the higher ups at
 28

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  1   Disney . . ..” (Dkt. No. 441-6, Plaintiff Depo. 128:23-25.)12 Plaintiff also declares
  2   “Marchick told me that, after showing Bucky materials to her bosses and contacts
  3   at Disney, a Disney director wanted me to produce a trailer for Bucky because
  4   they wanted to see Bucky come to life.” (Dkt. No. 434, Plaintiff Decl. ¶ 16.)13
  5         On the other hand, Defendants submit declarations from Marchick wherein
  6   she declares she never sent any of Plaintiff’s “Bucky” materials to anyone at
  7   WDAS (Dkt. No. 412, Marchick Decl. ¶¶ 5, 14), she never promised Plaintiff that
  8   she would show Plaintiff’s Bucky works to directors at Walt Disney Animation
  9   Studios (Marchick Suppl. Decl. ¶ 3), she never promised Plaintiff that she would
 10   show his Bucky works to “higher ups” at any Disney entity (Marchick Suppl.
 11   Decl. ¶ 3), she never told Plaintiff that anyone wanted to see an animated trailer
 12   for “Bucky” including “her bosses” or “higher-ups at Disney” (Marchick Supp.
 13   Decl. ¶ 4), Marchick contacted Maggie Malone (WDAS’s “Creative Director” and
 14   Head of Creative Affairs) sometime in 2003-2005 and asked if WDAS accepted
 15   outside submissions and was told WDAS did not that was the end of the
 16   conversation and Marchick did not mention Plaintiff or his ”Bucky” Project to
 17   Malone (Marchick Decl. ¶ 5). Defendants also submit declarations from
 18   Mandeville’s founder David Hoberman and Mandeville’s Vice President Todd
 19   Lieberman who declared they never received Plaintiff’s “Bucky” project.
 20   (Lieberman Decl. ¶ 3; Hoberman Decl. ¶ 3.) Defendants also submit a declaration
 21
      12
 22      See also Benjamin Woodall Depo. 31:12-19 (testifying that during Plaintiff’s
      meeting with Marchick on the Disney lot when Plaintiff gave her his Bucky
 23   materials, Marchick said she would “[s]how it to her boss” and said, “‘I will get
      this in front of the right people,’” or something, or ‘show it to the next level’”).
 24   13
         See also Plaintiff Depo. 122:12-18 (testifying “I believe I was following up with
      [Marchick] to see if her bosses had had a chance to look at my material. And she
 25   told me that they looked at it and she asked me if I had a trailer. And I said no and
      she said do you think you could produce one because if you can produce one they
 26   would take a look at that”); id. at 141:7-15 (testifying during a “followup call to
      see if [Marchick] had received a response to my material and my pitch package
 27   from her bosses” that “she said can you produce an animated trailer -- that her
      bosses and the Disney directors would like to see an animated trailer and if I could
 28   produce that, they would take a look at it.”).

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  1   from Defendant Ribon who declares she worked as a writer on Moana from late
  2   April 2013 through February 2015; during the time she worked on Moana she was
  3   the only writer working on the project; she never met, spoke to, corresponded
  4   with, or communicated with Plaintiff in any manner and never heard of Plaintiff or
  5   his “Bucky” project until learning of this lawsuit; she did not meet Defendant
  6   Marchick until after she had finished writing for Moana; she never discussed
  7   Plaintiff or his “Bucky” project with Marchick or anyone else prior to learning of
  8   this lawsuit; and she had never seen, received, viewed, read, referenced, copied, or
  9   used any scripts, character descriptions, artwork, treatments, synopses, trailers, or
 10   any other materials or ideas by Plaintiff or relating to his “Bucky” project prior to
 11   this lawsuit. (Ribon Decl. ¶¶ 3, 5, 6, 7.)
 12         Therefore, the record before the Court demonstrates a reasonable trier of
 13   fact could find “a reasonable possibility, not merely a bare possibility” that one of
 14   the defendants “had the chance to view the protected work.” Art Attacks Ink, 581
 15   F.3d at 1143; see also Loomis, 836 F.3d at 995-96; Bouchat v. Baltimore Ravens,
 16   Inc., 241 F.3d 350, 354-55 (4th Cir. 2001). Thus, a triable issue of material fact
 17   exists as to whether Defendants, or any of them, had access to Plaintiff’s work.14
 18   Accordingly, the Court denies Defendants’ and Plaintiff’s motions for summary
 19   judgment on the issue of access.15
 20   14
         Because the Court finds a triable issue of fact exists as to access based on the
 21   evidence discussed above, the Court does not address whether Defendants also
      had access to Plaintiff’s Bucky work through non-parties Malone, Shurer,
 22   Lasseter, Bird, and/or Kane.
      15
         Plaintiff also argues a showing of bare corporate receipt alone is sufficient
 23   where the works are strikingly similar. “[S]triking similarity is obviously a much
      higher bar than substantial similarity.” Klauber Bros., Inc. v. City Chic Collective
 24   Ltd., 2022 WL 18278400, at *5 (C.D. Cal. Dec. 6, 2022); see also Frisby v. Sony
      Music Ent., 2021 WL 2325646, at *18 (C.D. Cal. Mar. 11, 2021), aff’d in part,
 25   dismissed in part, 2022 WL 2045340 (9th Cir. June 7, 2022); Kevin Barry Fine
      Art Assocs. v. Ken Gangbar Studio, Inc., 391 F. Supp. 3d 959, 968 (N.D. Cal.
 26   2019). Accordingly, because there is a disputed issue of fact regarding whether
      the works are substantially similar based on the parties’ dueling expert opinions
 27   (see infra)—and substantial similarity is lower standard than striking similarity—
      there is a triable issue of disputed fact regarding whether the works are strikingly
 28   similar.

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  1         (6)    Substantial Similarity
  2         Defendants contend Plaintiff’s copyright infringement claim also fails as a
  3   matter of law because “Moana is not substantially similar to Plaintiff’s
  4   copyrighted ‘Bucky’ materials under the extrinsic test.”16 Defendants offer a
  5   report and rebuttal report from Defendants’ expert Jeff Rovin who opines the
  6   parties’ works are not substantially similar. (Dkt. No. 417-1, Rovin Decl. Ex. A,
  7   Expert Report of Jeff Rovin at 85-155; Dkt. No. 417-2, Rovin Decl. Ex. B,
  8   Rebuttal Expert Report of Jeff Rovin at 5-29, 46.)17 Plaintiff submits reports from
  9   Plaintiff’s expert David Roman who opines the parties’ works are substantially
 10   similar. (Dkt. No. 435-1, Roman Expert Report at 3-38); Dkt. No. 435-2, Roman
 11   Rebuttal Report at 13-18.) Plaintiff also submits a report from Terry Hunt,
 12   Plaintiff’s expert on Polynesian and Oceanic mythology and folklore, who opines
 13   Moana “heavily copies from Bucky” and that “both works adopt far more than one
 14   identical creative departure from traditional elements of Polynesian mythology”
 15   such that he ”believe[s] that the overlap in both works is more than mere
 16   coincidence.” (Dkt. No. 436, Hunt Report.).
 17         Defendants argue Plaintiff’s expert Roman “performed the wrong analysis”
 18   because he “compared Moana to an amalgam of various synopses, story outlines,
 19   treatments, character descriptions, and scripts that Plaintiff created or
 20   commissioned over a more than 13-year period,”18 and therefore contend Roman’s
 21   opinions should be “disregarded on summary judgment.”19 However, Defendants’
 22   argument goes to the weight of Plaintiff’s expert Roman’s reports rather than
 23   16
         Plaintiff does not move for summary judgment on the issue of substantial
 24   similarity.
      17
         Plaintiff did not file evidentiary objections to Rovin’s reports in connection with
 25   the parties’ cross summary judgment motions.
      18
 26      Defendants rely on Gilbert v. New Line Prods., Inc, 2010 WL 5790628 at *3
      (C.D. Cal. Aug. 13, 2010) (“[t]he works must be assessed individually and not
 27   manipulated for any parties’ own benefit”).
      19
         Defendants did not file evidentiary objections to Roman or Hunt’s reports in
 28   connection with the parties’ cross summary judgment motions.

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  1   admissibility, and the Court cannot weigh evidence on summary judgment.20 See
  2   Morrill v. Stefani, 338 F. Supp. 3d 1051, 1056 (C.D. Cal. 2018); Iguaçu, Inc. v.
  3   Cabrera, 2013 WL 12173236, at *5 (N.D. Cal. Feb. 21, 2013), aff’d sub nom.
  4   Iguaçu, Inc. v. Filho, 637 F. App’x 407 (9th Cir. 2016) (citing U.S. v. Union
  5   Pacific R. Co., 565 F. Supp. 2d 1136, 1150 n.22 (E.D. Cal. 2008)). Defendants
  6   argue even if the Court considers Roman’s opinions, the existence of dueling
  7   expert reports does not preclude summary judgment on the issue of substantial
  8   similarity. However, the Court cannot weigh or disregard the parties’ expert
  9   reports (for which neither party has filed evidentiary objections). See T.W. Elec.
 10   Serv., Inc., 809 F.2d at 630.
 11         Therefore, there is a genuine issue of triable fact precluding summary
 12   judgment on the issue of substantial similarity based on the dueling expert
 13   opinions submitted by the parties. See Hall v. Swift, 2021 WL 6104160, at *5
 14   (C.D. Cal. Dec. 9, 2021); Lewert v. Boiron, Inc., 212 F. Supp. 3d 917, 937 (C.D.
 15   Cal. 2016), aff’d, 742 F. App’x 282 (9th Cir. 2018).21 Accordingly, the Court
 16   denies Defendants’ Motion for Summary Judgment on the issue of substantial
 17   similarity.
 18         (7)     Independent Creation
 19         Defendants also contend Plaintiff’s copyright infringement claim fails as a
 20   matter of law because “the overwhelming uncontroverted evidence of independent
 21   creation, supported by the testimony of the filmmakers and the complete
 22   development files for Moana, is fatal to Plaintiff’s infringement claim even if he
 23
      20
 24      Defendants did not file evidentiary objections to or a motion to strike Plaintiffs’
      expert’s report, nor argue Plaintiffs’ expert fails to meet the Daubert standards for
 25   expert testimony.
      21
         See also Optivus Tech., Inc. v. Ion Beam Applications S.A., 2005 WL 6070811,
 26   at *31 (C.D. Cal. Mar. 14, 2005), aff’d, 469 F.3d 978 (Fed. Cir. 2006); Avery
      Dennison Corp. v. Acco Brands, Inc., 2000 WL 986995, at *12 (C.D. Cal. 2000);
 27   Hansen Beverage Co. v. Vital Pharm., Inc., 2010 WL 1734960, at *8 (S.D. Cal.
      Apr. 27, 2010); CytoSport, Inc. v. Vital Pharm., Inc., 894 F. Supp. 2d 1285, 1300
 28   (E.D. Cal. 2012).

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  1   could create a triable issue as to access.” Plaintiff moves for partial summary
  2   judgment on the ground Defendants have not proven their independent creation
  3   defense, arguing Plaintiff has demonstrated “striking similarity on several levels”
  4   and “‘particularly suspicious’ changes made to the final work,” and “deliberate
  5   concealment” sufficient to preclude a finding of independent creation.
  6         “[I]ndependent creation is a complete defense to copyright infringement.”
  7   Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051, 1064
  8   (9th Cir. 2020). However, “a grant of summary judgment for [the] plaintiff is
  9   proper where works are so overwhelmingly identical that the possibility of
 10   independent creation is precluded.” Unicolors, Inc. v. Urb. Outfitters, Inc., 853
 11   F.3d 980, 985 (9th Cir. 2017) (internal quotations and citations omitted).
 12         Here, Defendants rely on declarations from Moana’s filmmakers to support
 13   their contention regarding independent creation. (See Dkt. No. 522, Musker Decl.
 14   ¶¶ 8-70; Dkt. No. 526, Clements Decl. ¶¶ 9-30.) Musker declares “I directed
 15   Moana along with my longtime collaborator, Ron Clements,” “I first conceived of
 16   the idea of a film set in Polynesia in 2011,” and “told Mr. Clements about my
 17   idea, and we then worked closely together on the development and production of
 18   Moana for more than five years, through its theatrical release in November 2016.”
 19   (Musker Decl. ¶ 2.) Clements declares “Musker had the initial idea for an
 20   animated film set in Polynesia,” “[s]tarting in 2011, he and I worked closely
 21   together for more than five years researching, developing, and producing the film
 22   that ultimately became Moana.” (Clements Decl. ¶ 2.) Musker and Clements
 23   both declare they do not know Plaintiff, never met, spoke to, corresponded with or
 24   communicated in any manner with Plaintiff, and never heard of Plaintiff or his
 25   “Bucky” project prior to learning about this lawsuit. (Musker Decl. ¶ 3; Clements
 26   Decl. ¶ 3.) They each also declare that they never received, saw or read any
 27   scripts, character descriptions, artwork, treatments, synopses, trailers, or any other
 28   materials or ideas by Plaintiff or relating to Plaintiff’s ‘Bucky’ project.” (Musker

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  1   Decl. ¶ 3; Clements Decl. ¶ 3.) They each further declares Moana was not
  2   inspired by or based in any way on Plaintiff or Plaintiff’s “Bucky” project, and no
  3   one involved in the creation, development or production of Moana ever mentioned
  4   Plaintiff or his “Bucky” project to them, including Maggie Malone, Osnat Shurer,
  5   and Pamela Ribon.” (Musker Decl. ¶ 3; Clements Decl. ¶ 3.) Musker also
  6   discusses their work researching, creating and developing Moana (see Musker
  7   Decl. ¶¶ 4-69), and concludes his declaration by attesting “[t]here are thousands of
  8   documents that demonstrate the origin and development of every element of the
  9   movie,” “[t]the final movie is a product of the contributions of hundreds of
 10   individuals who are acknowledged in the credits,” and “[n]othing in Moana
 11   derived from or was based in any way on [Plaintiff] or his ‘Bucky’ project.”
 12   (Musker Decl. ¶ 70.) After discussing the research, creation and development of
 13   Moana (see Clements Dec. ¶¶ 4-30), Clements concludes his declaration by
 14   attesting “Moana was not inspired by or based in any way on [Plaintiff] or his
 15   ‘Bucky’ project, which I learned of for the first time after this lawsuit was filed.”
 16   (Clements Decl. ¶ 31.) To support independent creation, Defendants also submit
 17   evidence regarding WDAS’s development files regarding the origin and
 18   development of the Moana film, including story ideas, pitch materials, written
 19   research, travel journals, scripts, and script revisions, which Defendants contend
 20   make no reference to Plaintiff’s Bucky materials.22
 21         Plaintiff submits a report from Terry Hunt, Plaintiff’s expert on Polynesian
 22   and Oceanic mythology and folklore, who opines Moana “heavily copies from
 23   Bucky” and opines “both works adopt far more than one identical creative
 24   departure from traditional elements of Polynesian mythology” such that he
 25   ”believe[s] that the overlap in both works is more than mere coincidence.” (Dkt.
 26   No. 436, Hunt Report.). Plaintiff also cites to the report of his substantial
 27
      22
        See Dkt. No. 404-1 to 404-73, Musker Decl. Exs. A-UUU; see also Dkt. No.
 28   410, Jessica Julius Decl. ¶¶ 12-21; Dkt. No. 411, James McDonald Decl. ¶¶ 5-7.

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  1   similarity expert who opines there is significant “overlap” between Bucky and
  2   earlier versions of Moana and “plagiarism,” and “[e]arlier scripts and treatments
  3   of the Disney Film heavily borrow from the original Bucky materials” which “are
  4   extraordinary coincidences that defy any other argument than that they were based
  5   on Bucky.” (Dkt. No. 435-1, Roman Expert Report at 35-37.)23
  6         The issue of independent creation is necessarily tied to the parties’ evidence
  7   regarding access and evidence regarding substantial similarity (an issue for which
  8   there are dueling expert opinions from the parties) such that the issue of
  9   independent creation should be left to the trier of fact. See Three Boys Music
 10   Corp. v. Bolton, 212 F.3d 477, 486 (9th Cir. 2000), overruled on other grounds by
 11   Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th
 12   Cir. 2020); Macnab v. Gahderi, 2009 WL 10671026, at *4 (C.D. Cal. July 28,
 13   2009); Fun With Phonics, LLC v. LeapFrog Enters., Inc., 2010 WL 11404474, at
 14   *9 (C.D. Cal. Sept. 10, 2010); Skidmore, 952 F.3d at 1064. Moreover, Plaintiff
 15   submits deposition testimony from Clements who testified regarding an original
 16   pitch he and Musker made about a Western teenage boy who needed to time-travel
 17   to the past to save his Polynesian island and a modern island boy thrown back in
 18   time, and that a news article misquoted him in reporting in an interview that time
 19   travel was an element to the Moana story. (Dkt. No. 542-6, Clements Depo.
 20   104:21-105:24, 120:6-122:18.) Plaintiff also submits deposition testimony from
 21   Musker, wherein Musker testified regarding a pitch about a young boy in the
 22   contemporary world who went back into the world of ancient voyage to learn
 23   about ancient Polynesia. (Dkt. No. 542-12, Musker Depo. 99:16-101:21.)
 24
 25   23
        Defendants argue in response to Plaintiff’s statement of disputed facts that Hunt
      and Roman’s expert reports are “improper and immaterial” because neither was
 26   disclosed as an expert on independent creation and is not qualified to render an
      opinion on that subject. (See Defendants’ Response to Plaintiff’s Statement of
 27   Genuine Issues No. 64.) However, Defendants did not file evidentiary objections
      to Hunt and Roman’s reports in connection with the parties’ cross-motions for
 28   summary judgment.

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  1   Therefore, evidence before the Court raises a triable issue of fact regarding the
  2   issue of independent creation. See, e.g., McIntosh v. N. Cal. Universal Enters.
  3   Co., 670 F. Supp. 2d 1069, 1095 (E.D. Cal. 2009). Furthermore, a finding on the
  4   issue of independent creation on summary judgment would be improper here
  5   because it would require the Court to weigh evidence and make credibility
  6   determinations. See Kaseberg v. Conaco, LLC, 260 F. Supp. 3d 1229, 1247 (S.D.
  7   Cal. 2017); Miller v. Miramax Film Corp., 2001 U.S. Dist. LEXIS 25967, at *31-
  8   *32 (C.D. Cal. 2001). Nor is summary judgment in favor of Plaintiff on the issue
  9   of the independent creation case proper here since there is a disputed issue of
 10   genuine fact regarding substantial similarity and striking similarity between the
 11   parties’ works. See Twentieth Century-Fox Film Corp. v. MCA, Inc., 715 F.2d
 12   1327, 1330 (9th Cir. 1983).24 Accordingly, the Court denies both Defendants’ and
 13   Plaintiff’s motions for summary judgment on the issue of independent creation.
 14         (8)    Affirmative Defenses
 15         Plaintiff moves for summary judgment on Defendants’ affirmative defenses
 16   as to copying and willfulness for Plaintiff’s copyright infringement claim.
 17                a.    Merger and Scènes-à-Faire
 18         Plaintiff argues Defendants cannot meet their burden of proof on their
 19   “Merger Defense” and “Scènes-à-Faire Defense.” (Plaintiff’s Motion at 17, 20.)25
 20   “Under the merger doctrine, courts will not protect a copyrighted work from
 21   infringement if the idea underlying the copyrighted work can be expressed in only
 22   one way, lest there be a monopoly on the underlying idea” because “[i]n such an
 23   instance, it is said that the work’s idea and expression merge.” Ets-Hokin v. Skyy
 24   Spirits, Inc., 225 F.3d 1068, 1082 (9th Cir. 2000) (internal quotations and citations
 25
 26   24
         Cf. Walker v. Viacom Int’l, Inc., 2008 WL 2050964, at *9 (N.D. Cal. May 13,
 27   2008), aff’d, 362 Fed. App’x. 858 (9th Cir. 2010).
      25
         Plaintiff also argues Defendants have not proven their independent creation
 28   defense. The issue of independent creation is discussed supra.

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  1   omitted).26 “Under the related doctrine of scènes à faire, courts will not protect a
  2   copyrighted work from infringement if the expression embodied in the work
  3   necessarily flows from a commonplace idea; like merger, the rationale is that there
  4   should be no monopoly on the underlying unprotectable idea.” Id. (citations
  5   omitted).27
  6         As to the scènes à faire defense, Defendants submit a report and rebuttal
  7   report from their expert Jeff Rovin, wherein he opines regarding unprotectable
  8   scènes à faire in Plaintiff’s Bucky. (See Dkt. No. 417-1, Rovin Report at 133, 141;
  9   Dkt. No. 417-2, Rovin Rebuttal Report at 7, 29.) Plaintiff argues Rovin’s opinions
 10   in his reports regarding scènes à faire “is refuted by the much more detailed and
 11   reasoned opinions of Terry Hunt,” Plaintiff’s expert. (Dkt. No. 436-1, Hunt
 12   Expert Report.) However, Plaintiff’s arguments in favor of his expert’s opinions
 13   regarding the protectable scenes in Plaintiff’s work go to the weight of the
 14   evidence rather than showing there are no triable issues as to Defendants’ scènes à
 15   faire defense. Since there are dueling expert opinions on the issue, summary
 16   judgment on the issue is improper. See Hall, 2021 WL 6104160, at *5; Lewert,
 17   212 F. Supp. 3d at 937; Optivus Tech., 2005 WL 6070811, at *31; Avery Dennison
 18   Corp., 2000 WL 986995, at *12; CytoSport, 894 F. Supp. 2d at 1300. Therefore,
 19   the Court denies Plaintiff’s motion for summary judgment on the scènes à faire
 20   defense.
 21         Defendants also argue they have submitted evidence raising triable issues
 22   26
         “Ideas, like facts, are not entitled to copyright.” CDN Inc. v. Kapes, 197 F.3d
 23   1256, 1261 (9th Cir. 1999). Moreover, “when expression is essential to conveying
      the idea, expression will also be unprotected.” Id.
 24   27
         Defendants argue Plaintiff’s Motion for Summary Judgment on Defendants’
      purported affirmative defenses of merger and scènes-à-faire fails because the
 25   merger doctrine and scènes-à-faire doctrine are not affirmative defenses.
      However, the Ninth Circuit has recognized “[a]lthough there is some disagreement
 26   among courts as to whether these two doctrines [merger and scènes-à-faire] figure
      into the issue of copyrightability or are more properly defenses to infringement,
 27   we hold that they are defenses to infringement.” Ets-Hokin, 225 F.3d at 1082
      (internal citations omitted); see also Satava v. Lowry, 323 F.3d 805, 810 n.3 (9th
 28   Cir. 2003).

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  1   with respect to the doctrine of merger, relying on the same portions of Rovin’s
  2   Expert Report and Rebuttal Report cited in connection with the scènes à faire
  3   defense discussed above. However, those portions of Rovin’s reports relied on by
  4   Defendants do not opine on the issue of merger, but rather refer to “stock
  5   elements” related to Defendants’ scènes à faire defense. (See Dkt. No. 417-1,
  6   Rovin Report at 133 (opining “themes of a dangerous ocean, the calls of nature
  7   toward man, and animals guiding humans are stock elements in thousands of years
  8   of Polynesian storytelling”); id. at 141 (idea of “a protagonist battling a storm” at
  9   sea is a stock element in seagoing stories); Dkt. No. 417-2, Rovin Rebuttal Report
 10   at 7 (characterization of teenage protagonists as “free spirits,” “impatient and
 11   impulsive,” and “rebellious,” and of parents as overprotective, are stereotypical
 12   representations in coming-of-age stories); id. at 29 (theme that young protagonist
 13   “must be true to herself to find her destiny” is common to “most every one of the
 14   Disney ‘princess’ films that came before and after MOANA, and of countless
 15   movies involving a hero’s journey”)).) See Rentmeester v. Nike, Inc., 883 F.3d
 16   1111, 1118 (9th Cir. 2018) (“Before that comparison can be made, the court must
 17   ‘filter out’ the unprotectable elements of the plaintiff's work—primarily ideas and
 18   concepts, material in the public domain, and scènes à faire (stock or standard
 19   features that are commonly associated with the treatment of a given subject”)
 20   (emphasis added), overruled on other grounds by Skidmore as Tr. for Randy Craig
 21   Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020).
 22         Defendants also cite to the entirety of the expert report from Dr. Marie
 23   Alohalani in disputing Plaintiff’s Statement of Fact No. 1 that “Defendants cannot
 24   meet their burden of proof on their affirmative defense of merger,” but do not
 25   identify any portion of her report addressing the merger doctrine. (See
 26   Defendants’ Response to Plaintiff’s Statement of Facts No. 3 (citing “Botwin
 27   Decl. Ex. 57 (Dkt. 441-57) (Expert report of Dr. Marie Alohalani Brown)”).)
 28   However, “[a] party asserting that a fact cannot be or is genuinely disputed must

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  1   support the assertion by . . . citing to particular parts of materials in the record.”
  2   Fed. R. Civ. P. 56(c) (emphasis added); see also Zackaria, 2014 WL 11398759, at
  3   *2. Moreover, the Court reviewed Dr. Alohalani’s report which addresses
  4   common Polynesian motifs, Polynesian mythology, customs, traditions, and
  5   culture, and does not address the merger of ideas and expression.
  6         Accordingly, Defendants do not identify any evidence demonstrating “the
  7   idea” in the work “can be expressed in only one way” or “an idea and its
  8   expression” that are “indistinguishable” in support of their merger defense. Ets-
  9   Hokin, 225 F.3d at 1082; Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435,
 10   1444 (9th Cir. 1994). Therefore, the Court grants Plaintiff’s Motion for Summary
 11   Judgment on the affirmative defense of merger, and Defendants cannot pursue the
 12   merger doctrine defense at trial.
 13                b.     Willful Infringement
 14         Plaintiff moves for partial summary judgment on the issue of willfulness.
 15   “To prove willfulness under the Copyright Act, the plaintiff must show (1) that the
 16   defendant was actually aware of the infringing activity, or (2) that the defendant’s
 17   actions were the result of reckless disregard for, or willful blindness to, the
 18   copyright holder’s rights.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658
 19   F.3d 936, 944 (9th Cir. 2011) (internal quotations and citations omitted).28
 20         Here, Plaintiff argues willfulness can be found as a matter of law where, as
 21   here, the evidence shows the defendant had undisputed notice of the infringement
 22   but continued to infringe. However, because Plaintiff does not cite to any specific
 23   evidence, and instead vaguely references “the evidence,” Plaintiff fails to comply
 24   with Fed. R. Civ. P. 56(c), which provides “[a] party asserting that a fact cannot be
 25   or is genuinely disputed must support the assertion by . . . citing to particular
 26
      28
        The Copyright Act provides “[i]n a case where the copyright owner sustains the
 27   burden of proving, and the court finds, that infringement was committed willfully,
      the court in its discretion may increase the award of statutory damages to a sum of
 28   not more than $150,000.” 17 U.S.C. § 504.

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  1   parts of materials in the record.” (Emphasis added.) See also Zackaria v. Wal-
  2   Mart Stores, Inc., 2014 WL 11398759, at *2 (C.D. Cal. Feb. 21, 2014); Cortes v.
  3   Mkt. Connect Grp., Inc., 2015 WL 5772857, at *4 (S.D. Cal. Sept. 30, 2015);
  4   Equal Emp. Opportunity Comm’n v. Telecare Mental Health Servs. of
  5   Washington, Inc., 2023 WL 5348880, at *4 (W.D. Wash. Aug. 21, 2023) (citing
  6   United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)). Moreover, Plaintiff’s
  7   argument regarding willfulness assumes Defendants have infringed. However,
  8   Plaintiff has not moved for summary judgment on the issue of infringement, and
  9   therefore a finding on the issue of willfulness is premature. Furthermore,
 10   “[g]enerally, a determination as to willfulness requires an assessment of a party’s
 11   state of mind, a factual issue that is not usually susceptible to summary judgment”
 12   and “is ordinarily a question of fact for the jury.” L.A. Printex Indus., Inc., 2009
 13   WL 789877, at *7; see also N. Face Apparel Corp. v. Dahan, 2014 WL 12558010,
 14   at *18 (C.D. Cal. Oct. 6, 2014) (collecting cases); United Fabrics Int’l, Inc. v. G-
 15   III Apparel Grp., Ltd., 2013 WL 7853485, at *6 (C.D. Cal. Dec. 27, 2013).
 16   Accordingly, the Court denies Plaintiff’s Motion for Summary Judgment on the
 17   issue of willfulness.
 18   D.    Plaintiff’s Request for Stay Pursuant to Fed. R. Civ. P.
 19         In Plaintiff counsel Botwin’s declaration filed in support of Plaintiff’s
 20   Motion for Partial Summary Judgment, Plaintiff’s counsel declared:
 21                Plaintiff seeks to file a motion for leave to file a motion to compel
                   responses to . . . Requests for Admission [regarding a FedEx account
 22                number on a handwritten note produced by Plaintiff during
                   discovery] out of time, based on the fact that the evidence is newly
 23                discovered and Disney Defendants’ admission would serve the
                   interests of justice and further permit the case to be resolved on the
 24                merits. Thus, to the extent the Court does not find that Defendants’
                   admission in their attempt to explain why Plaintiff is in possession of
 25                their confidential information, see Plaintiff’s Response to
                   Defendants’ Statement of Genuine Disputes, filed herewith, at ¶¶
 26                251, 252, does not already amount to an admission that the FedEx
                   account number is that of Disney Defendants, Plaintiff respectfully
 27
 28

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                   requests a brief stay, pursuant to Rule 56(d), Fed.R.Civ.P.,29 pending
  1                resolution of this narrow dispute.
  2
      (Dkt. No. 547, Botwin Decl. ¶ 6.)
  3
            On June 11, 2024, Plaintiff filed a “Motion to Reopen Discovery for the
  4
      Limited Purpose of Compelling Responses from Certain Defendants to Requests
  5
      for Admission.” (Dkt. No. 502.) Fact discovery closed on October 23, 2023.
  6
      (Dkt. No. 293.) Six months after fact discovery had closed, Plaintiffs served
  7
      Requests for Admission (“RFAs”) on Disney Defendants to “[a]dmit of deny that
  8
      ‘______ 828-0’ is a FedEx account number that was associated with Disney in or
  9
      around 2003 and 2004.” Defendants objected to the Requests for Admission
 10
      regarding the FedEx number on the basis that the fact discovery cutoff was
 11
      October 23, 2023, and therefore Plaintiff’s Requests for Admission were untimely.
 12
      Plaintiff’s Motion to Reopen Discovery thus sought to reopen discovery “for the
 13
      limited purpose of permitting Plaintiff to file a motion to compel certain
 14
      Defendants to respond to” the Requests for Admission regarding the FedEx
 15
      account number. On July 5, 2024, the Court denied Plaintiff’s Motion to Reopen
 16
      Discovery upon finding no good cause to reopen discovery because Plaintiff failed
 17
      to demonstrate he was diligent in obtaining discovery regarding the FedEx
 18
      numbers prior to the close of discovery. (Dkt. No. 508.) Therefore, Plaintiff’s
 19
      request to stay pursuant to Fed. R. Civ. P. 56(d) is denied.
 20
                                      IV.    CONCLUSION
 21
            Accordingly, the Court rules on Defendants’ Motion for Summary
 22
      Judgment as follows:
 23
                   1.     Defendants’ Motion for Summary Judgment on Plaintiff’s
 24                       trade secrets misappropriation claims under the DTSA and
                          CUTSA on the ground they are time-barred is GRANTED;
 25
 26   29
        Fed. R. Civ. P. 56(d) provides: “If a nonmovant shows by affidavit or
      declaration that, for specified reasons, it cannot present facts essential to justify its
 27   opposition, the court may: (1) defer considering the motion or deny it; (2) allow
      time to obtain affidavits or declarations or to take discovery; or (3) issue any other
 28   appropriate order.”

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                  2.    Defendants’ Motion for Summary Judgment on Plaintiff’s
  1                     fraud, false promises, and conspiracy to commit fraud claims
                        on the ground they are time-barred is GRANTED;
  2
                  3.    Defendants’ Motion for Summary Judgment on Plaintiff’s
  3                     copyright claim on the ground it is time-barred against all
                        Defendants except Defendant Buena Vista Home
  4                     Entertainment is GRANTED;
  5               4.    Defendants’ Motion for Summary Judgment on Plaintiff’s
                        copyright infringement claim as to the issue of access is
  6                     DENIED;
  7               5.    Defendants’ Motion for Summary Judgment on Plaintiff’s
                        copyright claim as to the issue of substantial similarity is
  8                     DENIED; and
  9               6.    Defendants’ Motion for Summary Judgment on the issue of
                        independent creation is DENIED.
 10
            The Court rules on Plaintiff’s Motion for Partial Summary Judgment as
 11
      follows:
 12
                  1.    Plaintiff’s Motion for Partial Summary Judgment on the
 13                     ground Defendants cannot meet their burden of proof on their
                        statute of limitations defense is DENIED;
 14
                  2.    Plaintiff’s Motion for Partial Summary Judgment as to the
 15                     issue of falsity for his fraud and false promises claims is
                        DENIED because those claims are time-barred;
 16
                  3.    Plaintiff’s Motion for Partial Summary Judgment on the issue
 17                     of ownership of the copyrighted Bucky works is GRANTED;
 18               4.    Plaintiff’s Motion for Partial Summary Judgment on the issue
                        of access for Plaintiff’s copyright infringement claim is
 19                     DENIED;
 20               5.    Plaintiff’s Motion for Partial Summary Judgment on the issue
                        of independent creation for Plaintiff’s copyright infringement
 21                     claim is DENIED;
 22               6.    Plaintiff’s Motion for Partial Summary Judgment on the issue
                        of Defendants’ joint and several liability for copyright
 23                     infringement is DENIED;
 24               7.    Plaintiff’s Motion for Partial Summary Judgment on the scènes
                        à faire defense for Plaintiff’s copyright infringement claim is
 25                     DENIED;
 26               8.    Plaintiff’s Motion for Partial Summary Judgment on the
                        merger doctrine defense for Plaintiff’s copyright infringement
 27                     claim is GRANTED, and Defendants cannot pursue the
                        merger doctrine defense at trial; and
 28

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                     9.     Plaintiff’s Motion for Partial Summary Judgment on the issue
  1                         of willfulness for Plaintiff’s copyright infringement claim is
                            DENIED.
  2
  3            The Court DENIES Plaintiff’s request to stay pursuant to Fed. R. Civ. P.
  4   56(d).
  5            Based on the Court’s rulings in this Order, the remaining claim for trial is
  6   Plaintiff’s copyright infringement claim based on distribution of Moana by
  7   Defendant Buena Vista Home Entertainment after April 24, 2017.
  8            IT IS SO ORDERED.
  9
 10   DATED: November 1, 2024.
                                               HON. CONSUELO B. MARSHALL
 11                                            UNITED STATES DISTRICT JUDGE
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